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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 23-3228                                                September Term, 2023
                                                                    1:23-cr-00257-TSC-1
                                                       Filed On: December 26, 2023
United States of America,

             Appellee

      v.

Donald J. Trump,

             Appellant


      BEFORE:       Henderson, Childs, and Pan, Circuit Judges

                                        ORDER

      Upon consideration of the motion by former officials in five Republican
administrations to participate as amicus curiae and the lodged corrected amicus brief, it
is

       ORDERED that the motion to participate as amicus curiae be granted. The
Clerk is directed to file the lodged corrected amicus brief.


                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk
